                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Darcell A. Kennedy
                                 Debtor(s)                                         CHAPTER 13

American Neighborhood Mortgage Acceptance
Company, LLC
                            Movant
              vs.                                                               NO. 22-12989 AMC

Darcell A. Kennedy
                                 Debtor(s)

Kenneth E. West
                                 Trustee                                       11 U.S.C. Section 362

          MOTION OF American Neighborhood Mortgage Acceptance Company, LLC
                   FOR RELIEF FROM THE AUTOMATIC STAY
                              UNDER SECTION 362

         1.       Movant is American Neighborhood Mortgage Acceptance Company, LLC.

         2.       Debtor(s) is/are the owner(s) of the premises 3824 Salina Road, Philadelphia, PA 19154,

 hereinafter referred to as the mortgaged premises.

         3.       Movant is the holder of a mortgage, original principal amount of $241,544.00 on the

 mortgaged premises that was executed on January 29, 2021. The mortgage has been assigned as follows:

         Assigned to American Neighborhood Mortgage Acceptance Company, LLC on September 8, 2022,

 recorded in Philadelphia County on September 14, 2022, Document ID 54097341.

         4.       Kenneth E. West is the Trustee appointed by the Court.

         5.       The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor(s).

         6.       Debtor(s) has/have failed to make the monthly post-petition mortgage payments in the

 amount of $1,549.62 for the months of March 2023 through May 2023 with a suspense balance of $736.14.

         7.       In addition to the other amounts due to Movant reflected in this Motion, as of the date

 hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred legal fees and

 legal costs. Movant reserves all rights to seek an award or allowance of such fees and expenses in accordance

 with applicable loan documents and related agreements, the Bankruptcy Code and otherwise applicable law.
        8.         The total amount necessary to reinstate the loan post-petition is $3,912.72 (plus attorney’s

fees & costs).

        9.       Movant is entitled to relief from stay for cause.

        10.        This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.




                                                            /s/ Mark A. Cronin
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